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                ORAL ARGUMENT NOT YET SCHEDULED

                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

____________________________________
                                    )
UTILITY SOLID WASTE                 )
ACTIVITIES GROUP, et al.,           )
                                    )
               Petitioners,         )               No. 15-1219
                                    )               (Consolidated with 15-1221,
                                    )               15-1222, 15-1223, 15-1227,
                                    )               15-1228, and 15-1229)
                                    )
               v.                   )
                                    )
U.S. ENVIRONMENTAL PROTECTION )
AGENCY,                             )
                                    )
               Respondent.          )
                                    )
____________________________________)


NON-BINDING STATEMENT OF ISSUES FOR PETITIONERS UTILITY
SOLID WASTE ACTIVITIES GROUP, EDISON ELECTRIC INSTITUTE,
NATIONAL RURAL ELECTRIC COOPERATIVE ASSOCIATION, AND
          AMERICAN PUBLIC POWER ASSOCIATION

      Pursuant to this Court’s Order dated July 17, 2015, Petitioners Utility Solid

Waste Activities Group (“USWAG”), Edison Electric Institute (“EEI”), National

Rural Electric Cooperative Association (“NRECA”), and American Public Power

Association (“APPA”) hereby submit their non-binding Statement of Issues to be

raised in the above-captioned proceeding. The Statement of Issues is as follows:
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     (1) Whether EPA’s regulation of inactive coal combustion residuals

          (“CCR”) surface impoundments under the rule is in excess of statutory

          jurisdiction, authority, or limitations, short of statutory right, arbitrary,

          capricious, an abuse of discretion, or otherwise not in accordance with

          law;

     (2) Whether the requirements that owners or operators of CCR units

          respond to “releases” under 40 C.F.R. §§ 257.90(d), 257.96(a) and

          257.97(b)(3)-(4), is arbitrary, capricious, an abuse of discretion, or

          otherwise not in accordance with law and promulgated without

          observance of procedure required by law;

     (3) Whether the requirement that owners or operators of existing CCR

          surface impoundments meet specified safety assessments and complete

          such assessments by no later than October 17, 2016 or cease operation

          of such impoundments and commence closure, is arbitrary, capricious,

          an abuse of discretion or otherwise not in accordance with law and

          promulgated without observance of procedure required by law;

     (4) Whether the inclusion of any and all CCR piles, without any size or

          temporal limits, within the definition of a “CCR landfill” is arbitrary,

          capricious, an abuse of discretion, or otherwise not in accordance with

          law;


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     (5)    Whether the definition of “CCR beneficial use” is arbitrary,

            capricious, an abuse of discretion, or otherwise not in accordance with

            law by including conditions on the beneficial use of CCR in amounts

            greater than 12,400 tons;

     (6) Whether the omission of any consideration of non-CCR waste streams

           in evaluating whether a unit can qualify for the rule’s “alternative

           closure” under 40 C.F.R. § 257.103 is arbitrary, capricious, and abuse

           of discretion, or otherwise not in accordance with law and promulgated

           without observance of procedure required by law;

     (7) Whether the requirements that CCR surface impoundments be

           designed, constructed, operated, and maintained with vegetated dikes or

           slopes not to exceed a height of 6 inches above the slope of the dike is

           arbitrary, capricious, and abuse of discretion, or otherwise not in

           accordance with law and promulgated without observance of procedure

           required by law;

     (8) Whether the requirement that existing unlined surface impoundments

           must cease the receipt of CCR and commence closure within a

           prescribed period of time upon detection of constituents above a

           groundwater protection standard is arbitrary, capricious, and abuse of




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           discretion, or otherwise not in accordance with law and promulgated

           without observance of procedure required by law;

      (9) Whether the elimination of the consideration of costs in 40 C.F.R.

           § 257.96(c) in the assessment of corrective measures is arbitrary,

           capricious, and abuse of discretion, or otherwise not in accordance with

           law and promulgated without observance of procedure required by law;

      (10) Whether the condition that an increase in costs or the inconvenience of

           existing capacity cannot be considered in qualifying for the alternative

           closure provision in 40 C.F.R. § 257.103 is arbitrary, capricious, and

           abuse of discretion, or otherwise not in accordance with law; and

      (11) Whether the constituents subject to rule’s groundwater monitoring

           requirements and the mandatory use of background values for purposes

           of establishing a groundwater protection standard when there is no

           maximum contaminant level for a constituent is arbitrary, capricious,

           and abuse of discretion, or otherwise not in accordance with law and

           promulgated without observance of procedure required by law.

USWAG retains the right to raise any additional issue at the time briefs are filed in

these consolidated cases.




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                                             Respectfully submitted,


                                             /s/ Douglas Green________
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                                             Waste Activities Group, et al.

Dated: August 17, 2015




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                          CERTIFICATE OF SERVICE

I hereby certify that on this 17th day of August 2015, I will electronically file this
Agency Docketing Statement Form and Non-Binding Statement of Issues with the
Clerk of the Court using the CM/ECF system, which will then send a notification
of such filing to those individuals registered with the system. I am also serving, by
first class mail, a copy of the foregoing upon any attorneys of record identified as
being served by alternative means in the Notice of Docket Activity generated by
the Court’s CM/ECF system.

                                              Respectfully submitted,


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